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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
                                                   Case No. 21-CR-20264
v.
                                                   Hon. Denise Page Hood
YLLI DIDANI,

      Defendant.


                   MOTION TO WITHDRAW AS COUNSEL

      Attorney Wade G. Fink of WADE FINK LAW P.C. hereby moves this

Honorable Court for an order permitting his withdrawal. The government has

indicated it does not oppose the motion.

      In support of this motion, undersigned counsel relies upon the law, facts, and

arguments set forth fully in the attached brief.

      WHEREFORE, undersigned counsel respectfully requests that this Honorable

Court grant this motion.
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Date: July 31, 2024                       Respectfully Submitted,

                                          WADE FINK LAW P.C.

                                          /s/ Wade G. Fink
                                          Wade G. Fink (P78751)
                                          Attorneys for Defendant
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
                                                  Case No. 21-CR-20264
v.
                                                  Hon. Denise Page Hood
YLLI DIDANI,

      Defendant.


            BRIEF IN SUPPORT OF MOTION TO WITHDRAW

                   I.    RELEVANT FACTUAL BACKGROUND

      Didani is charged by a superseding indictment alleging conspiracy to

distribute controlled substance (21 U.S.C. § 841, 846), conspiracy to distribute

controlled substances on board a vessel subject to the jurisdiction of the United

States (46 U.S.C. § 70503(a)), and conspiracy to launder money (18 U.S.C.

§1956(h)). See ECF No. 38. The Court is aware of the legal complexities of the case

from prior motions, briefing, and hearings. And the Court is aware of the factual

complexities, designating the same a complex case within the meaning of 18 U.S.C.

§ 3161(h)(7)(B)(ii). See ECF No. 103.

      Undersigned counsel entered this matter in November of 2021. He was

originally hired to assist trial attorneys from New York as local counsel doing

motion work. Undersigned counsel has expended many, many hours on this matter,
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the bulk of which were spent on complicated, involved pre-trial motions. For this

reason, after a breakdown between Defendant and his original trial counsel, the

Court, with Defendant’s consent, permitted the withdrawal of previous trial counsel

and appointed the undersigned as lead counsel on May 24, 2024 due to Defendant’s

lack of financial means.

      Since, undersigned has been working diligently to get his arms around the

matter beyond which he had previously. The discovery in this matter consists of

more than 2 Terabytes of information, including, but not limited to, numerous cell

phone extractions, multiple iCloud extractions, recorded phone calls, and a decade

worth of investigative reports and documentary evidence. In all, there are well over

100,000 of pages of information, just in iCloud and cell phone data alone. This does

not even include the thousands, if not tens of thousands, of pages of text messages,

search warrant affidavits, photographs, laboratory reports, and other items. The

government has witnesses in this case located in multiple countries, including on at

least three continents. The government is anticipating a 6-week trial.

      Defendant has developed distrust for undersigned counsel. And that distrust

is creating an untenable situation in the attorney-client relationship. There has been

a complete breakdown in the attorney-client such that Defendant wishes for

undersigned counsel to be removed from the case. It is unclear if he will request to

represent himself, ask for new appointed counsel, or try to retain one.


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                                II.    ARGUMENT

      An attorney may withdraw by written motion served upon a defendant. The

Court should only deny the motion if the withdrawal of the attorney would unduly

delay the case, be unfairly prejudicial, or is otherwise not in the interest of justice.

L.R. 57.1. A break-down in communication is one example of good cause warranting

the withdrawal of counsel. Wilson v Mintzes, 761 F.2d 275 (6th Cir. 1985).

      Defendant has asked defense counsel to be removed from the case. The

environment in this relationship has not been pleasant as of late. To be sure, the case

may result in substantial delay and prejudice. But Defendant does not wish for

undersigned counsel to represent him. And counsel must inform the Court of the

circumstances.

                               III.   CONCLUSION

      Undersigned counsel asks this Court to permit his withdrawal.


Date: July 31, 2024                            Respectfully Submitted,

                                               WADE FINK LAW P.C.

                                               /s/ Wade G. Fink
                                               Wade G. Fink (P78751)
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                             PROOF OF SERVICE

                I hereby certify that on July 31, 2024, I electronically
                filed the foregoing paper with the Clerk of the Court
                using the ECF system which will send notification of
                such filing to counsel of record. In addition, I mailed
                a copy of this motion to Defendant Ylli Didani at the
                FCI Milan Detention Center on the same date.

                                 /s/ Wade G. Fink
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